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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION
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             UNITED STATES OF                     I
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             AMERICA                              I
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             v.                                   ! CRIMINAL ACTION FILE
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                                                  ! NO.
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             JOSEPH ALLEN                         14: 10-CR-032-07 -HLM
                                                  I
                                                  I
             BALDWIN.                             I
                                                  I
                                                  I




                                            ORDER

                  This case is before the Court on Defendant's Motion to

             Suppress Statements and Motion for Jackson/Denno

             Hearing [216], Defendant's Amended Motion to Suppress

             Statements and Motion for Jackson/Denno Hearing and

             Motion to Suppress Evidence [242], and on the Non-Final

             Report and Recommendation of United States Magistrate

             Judge Walter E. Johnson [290].



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             I.   Standard of Review

                  28 U.S.C.A. § 636(b)(1) requires that in reviewing a

             magistrate judge's report and recommendation, the district

             court "shall make a de novo determination of those portions

             of   the    report    or    specified      proposed       findings    or

             recommendations to which objection is made." 28 U.S.C.A.

             § 636(b )(1). The Court therefore must conduct a de novo

             review if a party files "a proper, specific objection" to a

             factual finding contained in the report and recommendation.

             Macort v. Prem, Inc., 208 F. App'x 781, 784 (11th Cir.

             2006); Jeffrey S. by Ernest S. v. State Bd. of Educ., 896

             F.2d 507,513 (11th Cir. 1990); United States V. Gaddy, 894

             F.2d 1307,1315 (11th Cir. 1990); LoConte v. Dugger, 847

             F.2d 745, 750 (11th Cir. 1988). If no party files a timely

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             objection    to    a factual      finding     in   the    report      and

             recommendation, the Court reviews that finding for clear

             error. Macort, 208 F. App'x at 784. Legal conclusions, of

             course, are subject to de novo review regardless of whether

             a party specifically objects. United States v. Keel, 164 F.

             App'x 958, 961 (11th Cir. 2006); United States v. Warren,

             687 F.2d 347,347 (11th Cir. 1982).

             II.   Background

                   A.    Factual Background

                         1.    Defendant's Arrest

                   After a federal grand jury sitting in the Northern District

             of Georgia returned a superseding indictment that included

             charges against Defendant, Judge Johnson issued an

             arrest warrant for Defendant. (Docket Entry No. 104.) On

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             February 2, 2011, Special Agent ("SA") Christopher A.

             Mueller of the Drug Enforcement Administration executed

             that arrest warrant at Defendant's residence, located at

             1101 Carline Road in Rossville, Georgia. (Tr. at 8, 31-32.)

             The agents did not have a search warrant for the residence.

             (kL at 32.)

                  At about 8:30 a.m. on February 2, SA Mueller and three

             other law enforcement officers, all armed and dressed in

             raid attire, went to Defendant's residence; while the others

             took positions around the house, SA Mueller knocked loudly

             on the front door. (Tr. at 8-9, 53, 82.) While he knocked,

             SA Mueller announced, "police," but it took a few minutes

             for Defendant to come to door.               (kL at 9-10.)1       When

                  lWhen Defendant came to the door, he was dressed in
             pajama bottoms and a blue T-shirt. (Tr. at 33.) Defendant
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             Defendant opened the door, SA Mueller notified him of the

             arrest warrant.       (lii. at 11.)    Upon hearing that news,

             Defendant stepped back into the residence and allowed SA

             Mueller to enter, along with co-case agent David Gilleland.

             (lii. at 11, 34, 64.)2

                  Defendant then asked why he was being arrested. (Tr.

             at 12, 38.)      SA Mueller replied that the charge was

             distribution of oxycodone. (lii.)3 Defendant asserted that he

             explained to SA Mueller that he was delayed in answering the door
             because he had been in the shower. (kl at 34.) Defendant
             repeated that explanation in his direct testimony. (kl at 63-64.)
                  2SA Mueller testified that his gun was drawn as he knocked on
             the door, and that, when Defendant opened the door, neither SA
             Mueller nor Agent Gilleland pointed their guns at Defendant. As
             soon as Defendant allowed the officers to enter the residence, SA
             Mueller holstered his weapon. (Tr. at 11-12.)
                   3Defendant asserted that, in answer to his question, the agent
             with the black beard (that is, Agent Gilleland) stated that Defendant
             had been indicted by a grand jury on conspiracy charges to sell a
             million pills. (Tr. at 64, 66.)
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            had not been engaged in such conduct.                     (kl at 12.)

            Nevertheless, SA Mueller responded that he had an arrest

            warrant for Defendant, and agents then cuffed Defendant

            with his hands in the front, using two sets of handcuffs.

            (kl)4 The agents did not throw Defendant to the ground nor

            up against a wall. (kl)5

                Once the agents restrained Defendant, SA Mueller

            asked Defendant if there was anyone else in the residence.

            (Tr. at 13, 64.)6 Defendant replied that his wife was in the



                  4Defendant is a large man, and the agents used two sets of
            cuffs to make him more comfortable. (Tr. at 12, 24.)
                 sin open court, SA Mueller identified Defendant as the man he
            arrested on February 2, 2011. (Tr. at 31.)
                  6The residence is small. (Tr. at 14.) One enters through a
            great room, which opens into a long room, the left side of which is
            a living room, and the right side of which is a kitchen. (ldJ The
            residence has two bedrooms. (kL at 56.)
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            bedroom. (kt at 13, 64-65.) In response to SA Mueller's

            questions concerning whether there were weapons, cash, or

            narcotics in the residence, Defendant replied, "No, you can

            go ahead and search." (kt at 13, 37.f Defendant also

            called to his wife, who was in the master bedroom, to come

            out. (kt at 13.) With coaxing from the agents, Defendant's

            wife eventually appeared, dressed in a T-shirt and plaid

            pants.   (kt at 13-14, 33-34, 65.) Mrs. Baldwin did not



                  7During subsequent questioning from the Government's
            counsel, SA Mueller testified that Defendant said, "You guys can
            look or words to that effect." (Tr. at 14.) SA Mueller, however, did
            not specifically ask to search the residence at that point. (ldJ
            Indeed, SA Mueller clarified that, although he had oral consent to
            search at this time, he did not begin a search until after Defendant
            signed the consent to search form, discussed infra. (kl at 37.)
            Defendant testified that he told SA Mueller that he had weapons in
            the residence for protection, and that, in response to questions
            about where the guns were located, he stated that the guns were
            in the bedroom safe, but that his wife was in there getting dressed.
            (kl at 64-65,76-78.)
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            protest Defendant's restraint.          (kL. at 13.) Indeed, SA
            Mueller testified that Defendant did not resist the cuffs being

            placed on him, that Defendant was cooperative all day, and

            that all individuals involved acted calmly. (kl)

                      2.    The Interview at Defendant's Home

                 SA Mueller wanted to speak privately to Defendant;

            therefore, he asked Defendant if he would step back to the

            bedroom with him. (Tr. at 14-15, 66.)8 Defendant, who was

            still cuffed but very calm and collected, followed SA Mueller



                 8 SA Mueller testified that it is easier to speak with a suspect
            in private, away from other people. (Tr. at 15.) Additionally,
            Defendant's wife was present, and SA Mueller did not know how
            much knowledge she had about what Defendant may have been
            doing. (kt.) Further, SA Mueller did not want to embarrass
            Defendant by questioning him in front of his wife, his young
            daughter, and the two officers who had not been part of the
            investigation. (kt.) According to SA Mueller, he believed a private
            setting might create better rapport and allow him and Defendant to
            be more candid with each other. (kt.)
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            into the back bedroom, with Agent Gilleland following

            Defendant. (kl at 15, 34, 38, 66.) The bedroom was small

            and crowded. (kl at 16.) In addition to a bed and dresser,

            the room was crammed with a computer desk and chair,

            and a closed and locked gun safe; a number of boxes filled

            with clothing were lined up along a wall. (kl at 16, 32.)

            Defendant sat down on the bed. (kl at 16.) SA Mueller sat

            down near him in a narrow space between the dresser and

            the bed with his back to the wall.           (kl) Agent Gilleland

            stood near the door. (kl at 16-17.)

                SA Mueller began by explaining to Defendant that SA

            Mueller was going to read Defendant the Miranda rights

            before asking him any questions. (Tr. at 36.) SA Mueller

            then showed Defendant a DEA form 13A, which is that


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             agency's Miranda waiver form. (kL. at 17, 36, 45; Govt. Ex.

             1 (admitted at Tr. 18-19).) SA Mueller read each of the

             rights printed on the form to Defendant, and asked

             Defendant if he understood his rights. (kL. at 17, 36-37, 45,

             54.) Defendant shook his head in the affirmative, and when

             SA Mueller stated that he needed a verbal response,

             Defendant replied, "Yes." (kL. at 17, 36, 54.)9 SA Mueller

             then asked Defendant if he would talk to them, and if

             Defendant WOUld, to sign the form. (kL. at 17.) Defendant

             then signed the form, with no apparent reservation. (kL.)

             SA Mueller and Agent Gilleland signed the form as

             witnesses. (kL.) The form reflects that it was executed at




                 9Defendant testified that he is familiar with the Miranda rights
             and understands their meaning. (Tr. at 83-84.)
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             8:40 a.m. (kL at 53,86.)10 Defendant agrees that this form

             bears his signature. (kL at 78-79.) Defendant also testified

             that he reads and writes the English language, and that he

             understands the rights printed on the waiver form. (kL at

             79-80.)

                  Defendant also signed a "Consent to Search" form. (Tr.

             at 21, 39; Govt. Ex. 2 (admitted Tr. at 22-23).) SA Mueller

             noted that, although Defendant had given the agents

             permission to search earlier, SA Mueller asked Defendant

             again if it was all right for agents to search the residence.

             (kL at 21.) Defendant replied that it was. (kL) Defendant

             then placed the residence address, 1101 Carline Road, on



                  lOSA Mueller was adamant that he asked no substantive
             questions of Defendant until after Defendant executed the Miranda
             waiver form. (Tr. at 53-54.)
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             the blank form and offered it to Defendant to sign if

             Defendant consented to a search. (kl) The form reflects

             Defendant's signature. (Govt. Ex. 2.) To the best of SA

             Mueller's information, 1101 Carline Road was Defendant's

             residence. (kl at 21-22.)11

                  Agents then searched the residence, including the safe,

             and seized cash in excess of $1 0,000. (Tr. at 23,38.)12 SA

             Mueller suspected that the cash was derived from selling




                   llDefendant testified that he resided at 1101 Carline Road.
             (Tr. at 62.)
                   12There was no search warrant for the safe. (Tr. at 32.) SA
             Mueller testified that Defendant's signed consent to search gave
             the agents permission to search the residence, including the locked
             safe found therein, and the cars parked outside. (til at 32,56.) SA
             Mueller did not ask Defendant for specific permission to search the
             safe, but did ask him to open it, which he did. (til at 32-33.) The
             safe was searched in Defendant's presence. (til at 57.)
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             pills. (kL at 48-50, 58-59. )13 The agents, however, did not

             begin their search until after Defendant executed the

             consent to search form. (kL at 55-56.) Defendant agrees

             that this form bears his signature. (kL at 79.) Defendant

             also agrees that he could read and understand the words

             found on that consent to search form. (kL at 80-81.)

                  After Defendant signed those forms, and after other

             agents started the search and entered the safe, SA Mueller,

             assisted by Agent Gilleland, began the interview with

             Defendant concerning            his      involvement in      the       drug

                  13During the search, agents also seized Defendant's wallet,
             items located in the wallet, including cash, a small green piece of
             paper that appeared to be a payee sheet or drug ledger, and some
             business cards, and a cell phone. (Tr. at 47-48, 50-51.) SA
             Mueller asked Defendant for permission to look through his phone,
             which Defendant granted. The agents contend that they searched
             both the wallet and the cell phone in Defendant's presence. (kL at
             56-57.) Defendant, however, denies that SA Mueller searched the
             wallet in his presence. (kL at 71-72.)
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             conspiracy. (Tr. at 19,35-36,38-39,51-52,56.) SA Mueller

             testified that Defendant appeared to understand his

             questions and was willing to answer the questions. (kl at

             19.) At some point in the interview, SA Mueller perceived

             that Defendant was being less than truthful. (kl at 20.) In

             an effort to elicit more truthful testimony from Defendant, SA

             Mueller explained the charges to Defendant, their severity,

             and the extent of the DEA's investigation. (kl) SA Mueller

             testified that he did so in an effort to get Defendant to

             describe truthfully his involvement in the conspiracy. (kl)

                   On cross-examination, SA Mueller testified that, at

             some point in the interview, either he or Agent Gilleland told

             Defendant that Defendant was involved in a conspiracy that




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             had distributed a million oxycodone pills. (Tr. at 39.)14 SA

             Mueller recalled         telling   Defendant that the             DEA's

             investigation had led to many defendants, including Johnny

             Alvarez, whose telephone had been the subject of a wiretap.

             (kl) SA Mueller shared with Defendant his belief that the

             Government could prove that, in the course of the

             conspiracy, the participants had illegally distributed over a

             million oxycodone pills. (kl) Defendant expressed surprise,

             and asserted that there was no way that he was involved in

             the distribution of a million pills. (kl at 39, 41.)

                   14SA Mueller testified that, during the course of his
             investigation, he developed information that led him to believe that
             the Alvarez organization had distributed more than one million pills.
             In fact, one person had admitted to distributing 800,000 pills; thus,
             SA Mueller believed that it would be easy to prove that the twelve
             conspirators had distributed a million pills over the five-year life of
             the conspiracy as it operated in numerous states. (Tr. at 54-55.)
             Thus, SA Mueller did not "make up" the million pill number in order
             to elicit statements from Defendant. (kl at 55.)
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                  SA Mueller accepted Defendant's assertion, and replied

             that it would be a good thing for Defendant if he could give

             the agents an idea of how many of those million pills he was

             responsible for distributing.            (Tr. at 39-40.)   SA Mueller

             testified that, based on his understanding of conspiracy law,

             if Defendant did not provide information about his relative

             culpability, Defendant potentially could be responsible for

             the entire one million pillS. (kL. at 40-41.) However, SA

             Mueller testified that the agents did not tell Defendant that

             he needed to give the number of pills for which he was

             responsible or he would be charged with distributing one

             million pills. (kL. at 40.) SA Mueller denied that either he or

             Agent Gilleland told Defendant that they would "go easy" on

             him if he cooperated and that they needed a "big number"


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             from him if he wanted to help himself. (kl. at 40-41 , 44-45.)

             However, the agents informed Defendant that this interview

             was an opportunity for Defendant to make clear what

             position he played in the conspiracy; otherwise, Defendant

             could be charged with the full amount of drugs involved in

             the conspiracy or be found culpable for the full amount. (kl.

             at 41.) According to SA Mueller, he told Defendant that, if

             Defendant provided agents with a "believable number" of

             pills for which he was responsible, they would tell the

             prosecutors and Defendant would likely not be culpable for

             the entire million pills. (kl. at 42-43.)

                   In response to this conversation, Defendant told SA

             Mueller that Defendant believed that he was responsible for

             selling 20,000 pills that he had received from Defendant


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             Alvarez.      (Tr. at 42, 72, 81.)            Defendant expressly

             disclaimed responsibility for one million pills. (kl at 42.) As

             noted above, Defendant provided a pill count of 20,000 pills

             after SA Mueller told Defendant that he could be held

             responsible for a million pills. (kl) However, SA Mueller

             told Defendant that the 20,000 pill number was not

             believable.      (kl at 43.)15      Defendant did not revise his

             number in response to SA Mueller's challenge. (kl)16

                   Defendant's       recollection     of the     interview differs

             markedly from SA Mueller's testimony. Defendant claims


                  151n his direct testimony, SA Mueller stated that, at this point,
             he perceived Defendant as being less than truthful. (Tr. at 43.)
                  16At a subsequent interview at the jail, discussed infra,
             Defendant revised this number of pills down to 10,000. (Tr. at 43,
             82-83.) Defendant claimed to have visited Defendant Alvarez's
             home ten times and received 1,000 pills each time. (kL at 43-44.)
             Defendant, however, never denied trafficking in pills. (kL at 83.)
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             that when he and the agents reached the bedroom, one of

             them said, "Help us help you." (Tr. at 66.) According to

             Defendant, the agents explained that this was his only

             opportunity to help himself, and that he had been charged

             with a million pills and could be culpable for the entire

             amount.      (kl at 66-67.)       Defendant recalled that Agent

             Gilleland then said, "Well, you need to give us a good

             number" or a "large number." (kl at 67-68,81.) According

             to Defendant, he had never even seen a million pills. (kl at

             67.) Defendant claims that, to help himself, he just blurted

             out the number 20,000 without thinking. (kl at 67, 81.)17


                    17Defendant apparently did some "thinking." Defendant
             testified that he processes numbers quickly. According to
             Defendant, he thought that one percent of one million would be
             10,000, which he believed would not be a large enough number to
             satisfy the agents, so he doubled the number to 20,000. (Tr. at 67­
             68, 81-82.)
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                  Defendant also testified that, as Agent Gilleland was

             demanding a good number from him, SA Mueller said, "Let

             me read him his rights," or "We need to stop and read him

             his rights." (Tr. at 68.) Defendant asserted that "he was

             trying to hold him off for whatever reason."                   (kl)    In

             response to his attorney's request for more clarity in his

             testimony, Defendant stated that "Agent Gilleland was trying

             to hold off Agent Mueller at the time." (kl) According to

             Defendant, the agents did not stop and read him his rights.

             (kl at 69.) Defendant recalls that one of the agents asked

             him if he knew his rights, and that Defendant replied that he

             had seen them on TV. (kl)

                  Defendant, however, contends that the agents did not

             read his rights to him. (Tr. at 69.) Instead, according to


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             Defendant, Agent Gilleland directed him to open the safe, or

             at least Defendant thought that was what happened next.

             (J.d.) Despite knowing his rights, Defendant did not protest

             the agents' failure to provide Miranda warnings or assert his

             right to remain silent or to have an attorney present. (kl at

             85.) Defendant testified that the agents might have asked

             him to open the safe upon entering the bedroom, and that

             Defendant asked approximately five times if he had to,

             because Defendant had heard that officers needed a special

             search warrant to open a safe. (kl at 69-70,84.) According

             to Defendant, despite his protests, Agent Gilleland

             repeatedly told Defendant that he had to open the safe. (kl

             at 70, 84-85. )18

                  18Defendant asserts that the agents found $9,400 of the
             $10,000 cash they seized when Defendant opened the safe. (Tr.
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                  Defendant also asserts that he did not sign the Miranda

             waiver form, (Govt. Ex. 1), or the consent to search form,

             (Govt. Ex. 2), until near the end of the interview and just

             before the agents led him out of the bedroom. (Tr. at 67,

             70-75, 85.) Defendant claims that the agents told him that

             they had not found anything illegal in their search and for

             Defendant to sign the forms to show that he was

             cooperating. (kl at 71, 73.) According to Defendant, the

             agents did not read the forms to him. (kl at 73.) Instead,

             Defendant asserts that the agents handed him blank forms

             and directed him to sign them. (kl)

                   The interview lasted about forty-five minutes. (Tr. at 20,

             72.) SA Mueller testified that neither he nor any other agent

             at 71.) Defendant told SA Mueller that the cash came from
             automobile sales. (k;l at 52.)
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             yelled at Defendant, threatened him, made him any

             promises, or pointed a firearm at him. (kl at 20-21.) At no

             point did Defendant ask the agents to stop the search. (kl

             at 57-58.) After the interview and search concluded, the

             agents gathered everyone in the living room, removed

             Defendant's handcuffs, and allowed Defendant to speak to

             his wife regarding some personal matters and to play briefly

             with his child.      (kl at 23-24, 74-75.)          SA Mueller also

             informed Defendant that, if he were released on bond, then

             Defendant would have to make arrangements for someone

             else to safeguard the numerous guns agents had

             discovered during the consent search of the residence. (kl

             at 24,47.)19 Defendant then signed an evidence bag, which

                  19The agents found guns in each of Defendant's cars, under a
             mattress, and in the safe. (Tr. at 46-47.) The agents did not seize
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             contained the cash seized from the residence. (kl at 24,

             75-76.)

                        3.    Interview of Defendant During Transport
                              and at the Jail

                   Officers then placed Defendant, who was handcuffed in

             the front, in SA Mueller's vehicle, and he and Agent

             Gilleland transported Defendant to the Walker County Jail.

             (Tr. at 24, 75, 82, 86.) The time was approximately 10:30

             a.m. (kl at 24.) During the thirty-minute drive to the jail, SA

             Mueller discussed with Defendant whether Defendant had

             obtained pills from a defendant other than the suspected

             lead supplier, Defendant Alvarez. (kl at 24-25, 86-87.) In

             responding to those questions, Defendant appeared to

             the weapons. (tit at 47, 50.) Defendant asserted that the guns
             were for his protection, and SA Mueller could not tie the guns to
             any drug crime. (tit at 49-50.)
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             understand SA Mueller.           (Jd. at 25.)      During this drive,

             neither SA Mueller nor any other agent yelled at Defendant,

             threatened him, made any promises to him, or drove in such

             an erratic way as to frighten him. (Jd. at 25-26.)

                  After arriving at the jail, officers placed Defendant in a

             holding cell and removed the handcuffs.                   (Tr. at 26.)

             Approximately four hours later, SA Mueller removed

             Defendant from the holding cell, led him to an interview

             room, and questioned him again along with Agent Gilleland.

             (Jd. at 26-27,87.) Defendant was not restrained in any way,

             and SA Mueller was not armed. (Jd. at 27, 87.) All three

             gentlemen sat around a conference table and talked. (Jd. at

             27.) Defendant again made statements in response to SA

             Mueller's questions,         providing     information      about his


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             meetings with Defendant Alvarez and about his firearms,

             and Defendant appeared to understand the questions. (kl

             at 27-28, 72, 78, 87.)          The interview at the jail lasted

             approximately thirty minutes.            (kl at 28.)       During this

             interview, neither SA Mueller nor any other agent yelled at

             Defendant, threatened him, made any promises to him, or

             pointed a firearm at him. (kl at 28.) The interview ended

             when Defendant announced that he would not answer any

             more questions. (kl at 29.)

                  At the conclusion of that interview, SA Mueller and

             Agent Gilleland escorted Defendant back to the holding cell.

             (Tr. at 28-29.) At about 5:30 p.m., all the defendants who

             had been arrested on that day were placed in a van,

             transported to the Floyd County Jail, and booked into that


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             facility in anticipation of their appearance in federal court the

             next day. (kL at 29.)

                   SA Mueller testified that, from his first encounter with

             Defendant at 8:30 a.m. on February 2 through the interview

             at the jail later that day, Defendant never appeared to be

             under the influence of drugs or alcohol. (Tr. at 29-30.) SA

             Mueller also asserted that he never did anything in an

             attempt to intimidate Defendant. (kl at 31.) According to

             SA Mueller, Defendant never appeared scared and acted no

             more nervous than anyone arrested by the DEA might be.

             (kl at 30.) Defendant never appeared confused, and never

             complained about being tired. (kl) Although Defendant

             complained about being ill early that morning due to acid

             reflux, agents made sure that Defendant had his medication,

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             and Defendant never complained about feeling ill during any

             interview. (kl) Defendant also never complained about

             being hungry.       (kl at 30-31.)        Defendant appeared to

             understand the English language and the questions that the

             agents asked him.          (kl at 54.)      Finally, at no point on

             February 2 did Defendant ask for an attorney. (kl at 31.)

                  B.    Procedural Background

                  On February 1, 2011, the grand jury returned a First

             Superseding         Indictment       charging       Defendant          with

             membership in a multi-defendant oxycodone distribution

             conspiracy, in violation of 21 U.S.C. §§ 846, 841 (a)(1), and

             841 (b)( 1)(C). (Supr. Indict. Count One.) The indictment

             also contains a forfeiture provision against Defendant.




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                 On March 27, 2011, Defendant filed a Motion to

            Suppress Statements and Motion for Jackson-Denno

            Hearing.     (Docket Entry No. 216.)              On April 8, 2011,

            Defendant      filed   an    Amended        Motion       to   Suppress

            Statements, Motion for Jackson-Denno Hearing, and Motion

            to Suppress Evidence. (Docket Entry No. 242.) On April 8,

            2011, Judge Johnson held an evidentiary hearing to

            address Defendant's Motions to Suppress. (Docket Entry

            No. 265.)

                 On June 17, 2011 , Judge Johnson issued his Non-Final

            Report and Recommendation.                (Docket Entry No. 290.)

            Judge      Johnson      recommends         that    the    Court    deny

            Defendant's Motions to Suppress.




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                  As of the date of this Order, the Clerk's docket indicates

             that Defendant has not filed Objections to the Non-Final

             Report and Recommendation. The time period in which

             Defendant could file Objections has expired, and the Court

             consequently finds that this matter is ripe for resolution.

             III. Discussion

                  A.    Defendant's Statements

                   In Jackson v. Denno, 378 U.S. 368,376-77 (1964), the

             Supreme Court held that a defendant has a constitutional

             right to a fair hearing and an independent and reliable

             determination of the voluntariness of a confession before it

             is allowed to be heard by a jury.              18 U.S.C. § 3501 (a)

             codifies the Jackson v. Denno requirement for criminal

             prosecutions and provides that,                 before receiving a

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             confession or self-incriminating statement in evidence, "the

             trial judge shall, out of the presence of the jury, determine

             any issue as to voluntariness." United States v. Davidson,

             768 F.2d 1266, 1270n.1 (11th Cir.1985).

                  A two-part inquiry determines the admissibility of a

             confession or self-incriminating statement. First, the Court

             must consider whether the Government complied with the

             requirements of Miranda v. Arizona, 384 U.S. 436 (1966).

             Second, if the Government met those requirements, the

             Court    must      consider      whether      the     confession       or

             self-incriminating statement was voluntary. United States v.

             Jones, 32 F.3d 1512,1516 (11th Cir. 1994) (per curiam);

             United States v. Sims, 719 F.2d 375, 378 (11th Cir. 1983)




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            (per curiam). The Court discusses those considerations in

            turn.

                        a.   Miranda

                    In Miranda, the Supreme Court noted that, "when an

            individual is taken into custody or otherwise deprived of his

            freedom by the authorities in any significant way and is

            subjected        to   questioning,       the     privilege      against

            self-incrimination is jeopardized." 384 U.S. at 478. The

            Supreme Court thus held that the procedural safeguard of

            warning the suspect of his constitutional rights must be

            instituted to protect the privilege. kL at 478-79.               Those

            so-called Miranda warnings "are required before any

            statement may be admitted into evidence at trial which was




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            elicited from a person in custody through interrogation."

            Endress v. Dugger, 880 F.2d 1244, 1248 (11th Cir. 1989).

                 Here, it is undisputed that Defendant was in custody at

            all relevant times and that his statements were elicited

            through interrogation. It also is undisputed that Defendant

            received his Miranda warnings and waived those rights

            verbally and in writing. Thus, the first prong of the Court's

            analysis is satisfied, at least with respect to Defendant's

            statements made during transport and at the jail. The sole

            dispute is whether the agents presented the Miranda

            warnings and waiver form to Defendant at the outset of the

            interview, as the Government contends, or near the end of

            the bedroom interview, as Defendant testified.




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                 The Court agrees with Judge Johnson that "whether

            because of honestly mistaken memory or because a

            defendant facing felony charges has incentive to fabricate,

            [Defendant's] testimony does not outweigh the testimony at

            the hearing showing that Agents Mueller and Gilleland

            adn1inistered Miranda warnings to [Defendant] in his

            bedroom at the outset of their interview at approximately

            8:40 a.m., as recorded on the Miranda waiver form that

            [D]efendant signed." (Non-Final Report & Recommendation

            at 20 (citing Govt. Ex. 1).) The Court therefore declines to

            disturb Judge Johnson's finding that SA Mueller's testimony

            was more credible than Defendant's testimony. (kl) For

            those reasons, the Court concludes that the Government

            complied with Miranda.

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                       2.   Voluntariness

                 Determining whether a confession or incriminating

            statement is voluntary depends on whether, under all of the

            surrounding circumstances, the statement was the product

            of the accused's "free and rational" choice. Jones, 32 F .3d

            at 1516. In Arizona v. Fulminate, 499 U.S. 279, 285-88

            (1991), the Supreme Court held that the issue of

            voluntariness      is   determined       by the      totality   of the

            circumstances.          In    evaluating      the    totality   of     the

            circumstances, a district court must assess whether law

            enforcement conduct was "causally related" to the

            confession. Jones, 32 F.3d at 1516-17. The United States

            Court of Appeals for the Eleventh Circuit applies the

            following standard:

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                   Sufficiently coercive conduct normally involves
                   subjecting the accused to an exhaustingly long
                   interrogation, the application of physical force or
                   the threat to do so, or the making of a promise that
                   induces a confession. Isolated incidents of police
                   deception, and discussions of realistic penalties for
                   cooperative and non-cooperative defendants, are
                   normally insufficient to preclude free choice.

             k;L at 1517 (quoting United States v. Mendoza-Cecelia, 963

             F.2d 1467,1475 (11th Cir. 1992)).

                   The Court agrees with Judge Johnson that the totality

             of circumstances in this case shows that Defendant made

             his   statements        voluntarily.        (Non-Final      Report     &

             Recommendation at 21.) As Judge Johnson noted, "There

             is no assertion that [D]efendant was subjected to an

             unusually long detention or interrogation or that he was

             physically harmed or threatened." (k;L) Moreover, although

             Defendant contends that the agents "threatened to charge
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             him with distribution of one million pills if he failed to give

             them a 'good number,'" the Court agrees with Judge

             Johnson that the agents simply gave Defendant '''a truthful

             and noncoercive staten1ent of the possible penalties'" that

             Defendant faced,          and that such           a statement was

             permissible. (kl at 21-22.)

                   The Court further ag rees with Judge Johnson that, even

             presun1ing that the questioning took place as Defendant

             recalled, Defendant's own testimony demonstrates that his

             statements       were     voluntary.        (Non-Final       Report    &

             Recommendation at 22-23.) As Judge Johnson noted:

                   Defendant testified that he understood his rights
                   based on hearing them on TV and that he
                   answered questions without protest. (Tr. 85.)
                   Defendant explained, "I figured it was my only
                   chance to help myself. I needed to help myself all
                   I could." (kl)
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             (kl at 22.) Given that testimony, the Court agrees with

             Judge Johnson that the totality of the circumstances

             demonstrate that Defendant made a knowing, voluntary,

             and intelligent waiver of his right to remain silent. (kl) The

             Court therefore adopts this portion of the Non-Final Report

             and Recommendation, and denies Defendant's Motion to

             Suppress Statements.

                   B.   Search of Defendant's Residence

                   Defendant contends that the "search of the safe and the

             wallet went beyond the scope of any consent [he] could be

             construed as having given."               (Def. 's Sr. at 10.)         "A

             consensual search is manifestly reasonable so long as it

             remains within the scope of the consent." United States v.

             Martinez, 949 F.2d 1117, 1119 (11 th Cir. 1992) (citing

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             Florida v. Jimeno, 500 U.S. 248, 249 (1991)). "When a

             defendant gives a general statement of consent, the scope

             of the perrriissible search 'is constrained by the bounds of

             reasonableness: what a police officer could reasonably

             interpret the consent to encompass.'"               United States v.

             Telcy, 362 F. App'x 83, 87 (11 th Cir. 2010) (per curiam)

             (quoting United States V. Street, 472 F.3d 1298,1308 (11th

             Cir. 2006)).

                  Judge Johnson noted:

                       [D]efendant verbally consented to a search of
                  the house in response to SA Mueller's query
                  whether there were weapons, cash, or narcotics in
                  the house. In addition, [D]efendant signed a form
                  granting consent to search his property and
                  vehicles. (Govt. Ex. 2.) Permission to search an
                  area for narcotics "may be construed as
                  permission to search any compartment or
                  containerwithin the specified area where narcotics
                  may be found." Martinez, 949 F.2d at 1119.
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                       There is no evidence as to where the wallet
                  was found, only that it was handed to SA Mueller
                  by another agent. (Tr. 48-49.) At that time, given
                  [D]efendant's general consent to the search for
                  cash and narcotics (either of which might be found
                  in a wallet), it was reasonable for SA Mueller to
                  believe the consent encompassed the wallet.

                       The remaining issue is whether [D]efendant
                  limited his consent when the agents asked him to
                  open the safe. SA Mueller testified that when he
                  asked [D]efendant to open the safe, [D]efendant
                  did so without asking whether he was required to
                  and without asking multiple times whether he had
                  to open the safe. (Tr. 33.) [Defendant] testified
                  that he acquiesced to opening the safe only after
                  SA Gilleland reiterated approximately five times
                  that [D]efendant had to open it. (kl at 70.)
                  However, [D]efendant did not refuse to open the
                  safe. See, e.g., United States v. Rios, No. 2:09-cr-
                  52-FtM-29DNF, 2009 WL 4510111, at *5 (M.D.
                  Fla. Nov. 30, 2009) ("When the Defendant
                  indicated that he would not consent to a search of
                  the locked safe, [police officer] stopped searching
                  the room and went to obtain a search warrant. ").
                  The Court again finds SA Mueller's testimony on
                  this pOint credible. Thus, no basis exists to

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                  suppress the items found in [D]efendant's wallet or
                  safe.

             (Non-Final Report & Recommendation at 23-25 (footnote

             omitted). )20   The Court agrees with Judge Johnson that

             Defendant consented to the search, and that the search of

             Defendant's wallet and safe did not fall outside the scope of

             Defendant's consent. The Court consequently adopts this

             portion of the Non-Final Report and Recommendation, and

             denies the Motion to Suppress Evidence.



             IV. Conclusion




                  2°Judge Johnson correctly noted: "Although his testimony did
             not match SA Mueller's, [D]efendant did not testify to any objection
             he might have made when the agents 'said something about
             looking around the house or whatever.'" (Non-Final Report &
             Recommendation at 23 n.21 (quoting Tr. at 64-65).)
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                  ACCORDINGLY, the Court ADOPTS the Non-Final

             Report and Recommendation of United States Magistrate

             Judge Walter E. Johnson [290], DENIES Defendant's

             Motion     to    Suppress        Statements        and     Motion      for

             Jackson/Denno Hearing [216], and DENIES Defendant's

             Amended Motion to Suppress Statements and Motion for

             Jackson/Denno Hearing and Motion to Suppress Evidence

             [242].
                                                              ~
                  IT IS SO ORDERED, this the ~ day of July, 2011.




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